                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                              Plaintiff,      )
                                              )
               v.                             )      No. 12-04025-04-CR-C-BCW
                                              )
JAVIER RUBI-PEDROZA,                          )
                                              )
                              Defendant.      )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge Matt J.

Whitworth, to which no objection has been filed, the plea of guilty to Counts 3, 4 and 8 of the

Indictment is now accepted.    Defendant is adjudged guilty of such offense. Sentencing will be

set by subsequent order of the court.


                                                       s/ BRIAN C. WIMES
                                                     JUDGE BRIAN C. WIMES
                                                     UNITED STATES DISTRICT COURT

Dated: February 4, 2013




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